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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 04/04/2022
                                                                       :
CONVERGEN ENERGY LLC et al.,                                           :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :      20-cv-3746 (LJL)
                  -v-                                                  :
                                                                       :           ORDER
ELMERINA BROOKS,                                                       :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

         This case was stayed pending the outcome of arbitration on September 16, 2020. The
parties are directed to submit a joint letter updating the Court on the status of the arbitration in
thirty (30) days from the entry of this Order and every six months thereafter.

        SO ORDERED.


Dated: April 4, 2022                                       __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
